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Pro Se 15 (Rev, 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

UNITED STATES DISTRICT COURT

for the .

COCK Ior eke Oo

a HE ak ar TOS

F
District of Puerto Rico

Civil Rights Division

pA
Case No. 23 -Cu vee

) (to be filled in by the Clerk's Office)
Yarivette Mojica Hernandez )
Plaintiffis)
(trite the full name of each plaintiff who is filing this complaint. .
Ifthe names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) Yes CJ No
please wrile “see attached” in the space and attach an additional )
page with the full list of names.) )
== )
)
)
)
)
et. als. )
Defendant(s) )
)

(Write the full name of each defendant who is being sued. If the'
names Of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non—Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

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L The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name Yarivette Mojica Hernandez
Address 64 Pedro Pablo Vargas
Helo PR 00659
City State Zip Code
County
Telephone Number 7874134424
E-Mail Address y.mojica.law@gmail.com

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additicral pages if needed.

Defendant No. |

Name Hon. Sigrido Steidei en representacién de la Administracion de
Job or Title if known) Director
Address

Ci State Zip Code
County

Telephone Number
E-Mail Address (if known)

[| Individual capacity [| Official capacity

Defendant No. 2

t

Name Hon. Pedro Pierluisi en representacién de Gobierno de Puerto
Job or Titie Gfinown)
Address

Clty , State Zip Code
County ,

Telephone Number

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IL.

E-Mail Address (if known

Defendant No. 3
Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

Defendant No. 4
Name
Job or Title (Gfknown;
Address

County
Telephone Number
E-Mail Address (if known)

Basis for Jurisdiction

[_] Individual capacity [J Official capacity

President John Bidden, Gobierno de los Estados Unidos de

City State Zip Code

[_] Individual capacity 1X] Official capacity

‘Senado del Estado Libre Asociado de Puerto Rico

Presidente

City State Zip Code

__] Individual capacity [_] Official capacity

Under 42 U.S.C. § 1983, you may sue state or iocal officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Ut-nown Named Agents of

Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A.

Are you bringing suit against (check all that apply}:

SX] Federal officials (a Bivens claim)

BX] State or local officials (a § 1983 claim)

Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

Amendment LIV, V, VI, XIII

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Ty.

C. Plaintifts suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

1s 5th and 8th Ammendment. I reserve ty right to include any other constitutional ri ghts not mentioned above,

D. Section 1983 allows defendants to be found liable only when they have acted "under color of any
statute, ordinance, regulation, custom, 2r usage, of any State or Territory or the District of Columbia."
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color

of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed. .

Constitution of Puerto Rico/ Constitution of United States/ Privacy Act. I reserve my right to incluse
any other legislation not mentioned above.

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. [f more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Where did the events giving rise to your claim(s) oceur?
My Residence and Office/ Urb Costa Norte D4, Calle Arrecife, Hatillo PR 00659/ 64 Pedro Pablo
Vargas, Hatillo PR 00659.

B. What date and approximate time did the events giving rise to your claim(s) occur?

September 2019 to present.

C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?}

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Private, public officials and federal agents has access to my private communications (phone,
computers) as part of a juditial nomination. These persons did a disclosure of my privileged
communication regarding cases of my private practice of law and personals matters, as relationship and
HIPAA protected information, without a warrant.

This information was illegally shared with neighboors, colleges, ex partners and their partners, relatives
and other private persons, putting my security as risk.

Using the participation of Jane and John Doe named still confidentially for security purpose. Not with
standing, they can be identified by their ip address and their access to my private devices. These
peopple appointed me to places and change narrative while illegally record my conversations, changing
narrative an interfering with the nomination process.

With the participations of Unknown federal agents, judges, prosecutors, retired federals and militars
employees.

l've been discriminated, persecuted and restricted of my liberty, work, income and properties without a
due process of law.

Im also being spyed and tortured using the lot system of Luma energy, LLC., with the participation of
employeed and independent contractors.

My private info was also shared with competitors and there were a criminal conspiration to put me out
of business.

Im also being blackmailed for the nomination after denounce this situation and the undue influence in
some of the cases of my private practices.

There were also vigilance using drons by private persons violating the aerial space and my intimacy as
intimidation. '

And with militar intervention and forbidden practices in my civilian place of residence.
As result i have loss personal goods/ income loss/ ilegal depravation of liberty/ violations to my human
rights and intimacy. I've been forced to left my home by coertion and intimidation. To later came to the
knowledge that was bought by peoples linked to this squeme/plot.

IV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, tf any, you required and did or did not receive.

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Vi.

[Loss of sight/ skin lacerations (body and fac) / brain injury/ expose to radiation/ teeths loss/ hearing loss/
damage to hair using quimics without my consent/

Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.

If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

Injuction/ Imprisoment, medical bills, lost of wages, reduced earning capacity, lost of reputation, pain and
suferrings, actual and punitive damages ascending to 10 billions.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge, information
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

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A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case. t

Date of signing: S / x 7% Ze 2 a a

Signature of Plaintiff

Printed Name of Plaintiff © YARIVETTE MOJICA HERNANDEZ

B. For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm
Address

City State Zip Code
Telephone Number
E-mail Address

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